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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

In Re: Chad French                                        Case No. 20-10086-KKS
       Corinna French                                  Chapter 7
                                                          Judge Specie
       Debtor(s)
____________________________________/

               REPORT AND NOTICE OF INTENTION
       TO SELL PROPERTY OF THE ESTATE BY PRIVATE SALE

TO: Debtor(s), Creditors, and Parties in Interest:
                          NOTICE OF OPPORTUNITY TO
                             OBJECT AND FOR HEARING

        Pursuant to Local Rule 2002-2, the Court will consider the relief requested in this
 paper without further notice or hearing unless a party in interest files a response within 21
 days from the date set forth on the proof of service plus an additional three days for service
 if any party was served by U.S. Mail, or such other period as may be specified in Fed. R.
 Bankr. P. 9006(f).

         If you object to the relief requested in this paper, you must file an objection or
 response electronically with the Clerk of the Court or by mail at 110 E. Park Avenue, Suite
 100, Tallahassee, FL, 32301 and serve a copy on the movant’s attorney, Theresa M. Bender,
 Trustee, P.O. Box 14557, Tallahassee, FL. 32317, and any other appropriate person within
 the time allowed. If you file and serve a response within the time permitted, the Court will
 either schedule and notify you of a hearing or consider the response and grant or deny the
 relief requested without a hearing.

       If you do not file a response within the time permitted, the Court will consider that
 you do not oppose the relief requested in the paper, will proceed to consider the paper
 without further notice or hearing, and may grant the relief requested.
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      NOTICE IS HEREBY GIVEN that the Trustee intends to sell the following
property of the estate of the debtor(s), under the terms and conditions set forth
below:

1) Description and Value of Property: All Bankruptcy Estate’s right, title and
interest in the parcel(s) of non-exempt real property, together with any and all
improvements located thereon, including any and all non-exempt appliances,
window treatments and fixtures as well as any and all tenements, hereditaments
and appurtenances thereto belonging or in anywise appertaining (collectively, the
“Property”) more particularly described as follows:

     Legal: Parcel No. 6- A tract of land commencing at the NW
Corner of the SW1/4 of the SW ¼ of Section20-T6S-R19E and run
South 1 degree 10 minutes 24 seconds East along the West line of said
Section 1292.95 feet to the North R/W of County Road No. 18, Thence
run N 88 degrees 14 minutes 08 seconds East along said R/W, 1341.43
feet to the East R/W of a 60 foot access road, thence run North 2
degrees 05 minutes 16 seconds West along said East R/W 300 feet,
thence run N 87 degrees 54 minutes 43 seconds East, 150 feet to the
Point of Beginning, thence run S 2 degree 05 minutes 16 seconds East,
300.85 feet to the North R/W of County Road No. 18, thence run North
88 degrees 14 minutes 08 seconds East along said R/W 83.72 feet to
the P.C. of a curve having a radius of 34,327.5 feet and being concave
to the North, thence run Easterly along the arc of said R/W curve and
arc distance of 66.28 feet ( through a central angle of 00 degrees 06
minutes 38 seconds) thence run North 2 degrees 05 minutes 16 seconds
West, 301.63 feet, thence run South 87 degrees 54 minutes 43 seconds
West 150 feet to the Point of Beginning. Being and lying in Section
20-T6S-R19E, Union County, Florida.

Lot 6, Worthington Springs Plantation.

TPN: 20-06-19-47-000-0060-0


Property Address: 11255 W County Road 18 Lake Butler, FL 32054-8012
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 2) Manner of Sale:         Private (x )* Public Auction ( )
 3) Terms of Sale:

      a) Purchaser(s): 11255 W County Road 18 Lake Butler Land Trust,
 CDC Capital Investments LLC as Trustee

         b) “As is,” “where is” with no warranties expressed or implied. This sale is
 subject to any known or unknown, liens, encumbrances, and Debtor’s exemptions
 (if any), lien held by New Rez ($119,418) & IRS ($79,451); and any such liens or
 encumbrances will not attach to the proceeds of this sale.

        c) Purchaser (s) shall pay all applicable State Documentary Stamps.

        d) Selling price as negotiated between the parties, $3,500.00.



Proposed Purchaser          Sale Price        Doc.       Recording           Total
                                             Stamps         Fee
Land Trust                  $3,500.00        $836.00      $18.50         $4,354.50


       e) All payments shall be made to Theresa M Bender, Trustee, and P.O.
 Box 14557, Tallahassee, Florida 32317.

 *The purchase price(s) was/were established by review of the schedules and any
 additional documents or testimony provided by parties, negotiated in good faith,
 and based on the principles of best business judgment.

 *(Applicable to private sales only.) The Trustee will entertain any higher bids of
 25% or more for the purchase of the assets of the debtor(s) which the Trustee
 proposes to sell. Such bids must be in writing and accompanied by a deposit of
 20% of the proposed higher purchase price. Any higher bid must be received, with
 the applicable deposit) by the Trustee at the address listed below no later than the
 close of business 15 days from the date of this Notice. Should a timely counterbid
 be receive; the Trustee will schedule a telephonic meeting for the sole purpose to
 allow the bidding parties to compete for the highest bidder. Only parties
 submitting a timely bid will be authorized to participate. Failure to submit a timely
 bid will be considered a waiver of participation in the bidding process.
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NOTICE IS HEREBY GIVEN that all objections to the same must state the basis
of the objection. If no objection is filed, the sale described above will take place.

      Date: 5/11/20


                                       /s/ Theresa M. Bender
                                       THERESA M. BENDER
                                       CHAPTER 7 TRUSTEE
                                       P.O. Box 14557
                                       Tallahassee, Florida 32317
                                       PH: 850.205.7777
                                       FL Bar No. 0749486
                                       Tmbenderch7@gmail.com
